                Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 1 of 48




                       EXHIBIT D




{D0280253.1 }
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 2 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 3 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 4 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 5 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 6 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 7 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 8 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 9 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 10 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 11 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 12 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 13 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 14 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 15 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 16 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 17 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 18 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 19 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 20 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 21 of 48
             Case 16-51014-MFW        Doc 1-4    Filed 06/21/16     Page 22 of 48




                                      February 25, 2016


VIA FACSIMILE (310-782-7998), E-MAIL (yusla-tsa@us.yusen-logistics.com),
OVERNIGHT DELIVERY and U.S. MAIL

Yusen Logistics (Americas) Inc.
19001 Harborgate Way
Torrance, CA 90501

       Re:     UCC § 2-705 Notice of Stoppage of Delivery of Goods in Transit to
               TSA Stores, Inc.

Dear Sir or Madam:

        I am writing in connection with the shipment by O2Cool, LLC (“Seller”) to TSA Stores,
Inc. (“Buyer”) of the goods listed on the enclosed invoices and purchase orders and described as
follows (the “Goods”):

 Purchase Order #        Invoice #          Item Number            TSA SKU           Quantity
      315814          ENV000124714       HMIP24A00O006BSA         044417442           1,140
      315814          ENV000124714       HMIP24A00O006YSA         044417578           1,140
      315814          ENV000124714      HMTP24A00O006TSA          044417646           1,140
      315814          ENV000124714      HMTP24A00O006RSA          044417756           1,020
      315814          ENV000124714      HMTP24A00O006BSA          044417824           1,140
      315814          ENV000124714      HMRB32A00O006BSA          044417947           1,020
      315814          ENV000124714      HMRB32A00O006YSA          044418221           1,020
      315814          ENV000124714      HMRV20200O006TSA          044418292           1,020
      315814          ENV000124714       HMTV20100O006TSA         044418483           1,020
      315815          ENV000124715       HMIP24A00O006BSA         044417442           1,752
      315815          ENV000124715       HMIP24A00O006YSA         044417578           1,752
      315815          ENV000124715      HMTP24A00O006TSA          044417646           1,752
      315815          ENV000124715      HMTP24A00O006RSA          044417756           1,500
      315815          ENV000124715      HMTP24A00O006BSA          044417824           1,752
      315815          ENV000124715      HMRB32A00O006BSA          044417947           1,500
      315815          ENV000124715      HMRB32A00O006YSA          044418221           1,500
      315815          ENV000124715      HMRV20200O006TSA          044418292           1,500
      315815          ENV000124715       HMTV20100O006TSA         044418483           1,500
                Case 16-51014-MFW         Doc 1-4    Filed 06/21/16      Page 23 of 48




Yusen Logistics (Americas) Inc.
May 13, 2016
Page 2




We understand that you are in possession of the Goods charged with delivering them to Buyer.
We have determined, on information and belief, that Buyer is insolvent within the meaning of
Article 2 of the Uniform Commercial Code. Accordingly, pursuant to UCC § 2-705(1), Seller
hereby demands that you stop delivery of the Goods immediately and instead, pursuant to UCC
§ 2-705(3)(b), deliver them to Seller’s location at:

                                        Partner Logistics, Inc.
                                         Attn: Kurt Lentsch
                                           2700 Carl Blvd.
                                   Elk Grove Village, IL 60007-6719
Pursuant to UCC § 2-705(3)(b), we will reimburse your charges for diverting the shipment to our
location above.

        For your reference, I have also enclosed a copy of Forwarder’s Cargo Receipt No. TSA-
SZP-1600103 and TSA-SZP-1600106 pertaining to the Goods to enable you to more easily
identify the shipment.

       Please contact me immediately upon receipt of this letter at (312) 951-6700 or
elockwood@o2-cool.com to acknowledge receipt of this letter and to confirm that you will honor
our request to redirect delivery of the Goods to our location at the address listed above.

         Please contact me if you have any questions.


                                               Very truly yours,



                                               Eric Lockwood
                                               Chief Executive Officer

Enclosures

cc:      Alan Leib (via e-mail)
         Jason Torf (via e-mail)
         John Hodge (via e-mail)




2946465/1/15542.000
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 24 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 25 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 26 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 27 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 28 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 29 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 30 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 31 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 32 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 33 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 34 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 35 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 36 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 37 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 38 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 39 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 40 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 41 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 42 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 43 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 44 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 45 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 46 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 47 of 48
Case 16-51014-MFW   Doc 1-4   Filed 06/21/16   Page 48 of 48
